Case 20-34576-KLP   Doc 75   Filed 02/10/21 Entered 02/10/21 16:06:53   Desc Main
                             Document     Page 1 of 6
Case 20-34576-KLP   Doc 75   Filed 02/10/21 Entered 02/10/21 16:06:53   Desc Main
                             Document     Page 2 of 6
Case 20-34576-KLP   Doc 75   Filed 02/10/21 Entered 02/10/21 16:06:53   Desc Main
                             Document     Page 3 of 6
Case 20-34576-KLP   Doc 75   Filed 02/10/21 Entered 02/10/21 16:06:53   Desc Main
                             Document     Page 4 of 6
Case 20-34576-KLP   Doc 75   Filed 02/10/21 Entered 02/10/21 16:06:53   Desc Main
                             Document     Page 5 of 6
Case 20-34576-KLP   Doc 75   Filed 02/10/21 Entered 02/10/21 16:06:53   Desc Main
                             Document     Page 6 of 6
